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Kenneth B. Black (05588)
ken.black@stoel.com
Michael R. Menssen (15424)
michael.menssen@stoel.com
STOEL RIVES LLP
201 S. Main Street, Suite 1100
Salt Lake City, UT 84111
Telephone: (801) 328-3131

Attorneys for Defendants
PolarityTE, Inc.; Denver Lough; and Jeff Dyer


                             IN THE UNITED STATES DISTRICT COURT

                                       DISTRICT OF UTAH

JOSE MORENO, Individually, and on Behalf            ORDER FOR PRO HAC VICE
of All Others Similarly Situated,                   ADMISSION OF WHITNEY B. WEBER
                       Plaintiff,                   Case No. 2:18-cv-00510-JNP

         v.                                         The Honorable Jill N. Parrish

POLARITYTE, INC.; DENVER LOUGH;
and JEFF DYER,

                       Defendants.

         It appearing to the Court that petitioner meets the pro hac vice admission requirements of

D.U. Civ. Rule 83-1.1(d), the motion for the admission pro hac vice of Whitney B. Weber in the

United States District Court, District of Utah, in the subject case is GRANTED.


DATED this 2nd day of August, 2018.



                                                   Hon. Jill N. Parrish
                                                   United States District Court




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of August, 2018, a true and correct copy of the

foregoing ORDER FOR PRO HAC VICE ADMISSION OF WHITNEY B. WEBER was

served to counsel who have appeared electronically in this action.



                                                       /s/ Rose Gledhill




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